
ORDER
Considering the Motion for Interim Suspension for Threat of Harm filed by the Office of Disciplinary Counsel,
IT IS ORDERED that respondent, William J. Aubrey, be and he hereby is suspended from the practice of law on an interim basis pursuant to Supreme Court Rule XIX, § 19.2, pending further orders of this court.
IT IS FURTHER ORDERED that pursuant to Supreme Court Rule XIX, § 27, the presiding chief judge in the Fifteenth Judicial District Court for the Parish of Lafayette is ordered to appoint a lawyer or lawyers to conduct an inventory of respondent’s files and to take action as appropriate to protect the interests of respondent’s clients.
*294Pursuant to Supreme Court Rule XIX, § 26(E), this order is effective immediately.
/s/ Pascal F. Calogero, Jr. Justice, Supreme Court of Louisiana
